Case 8:20-cv-00053-JLS-KES Document9 Filed 01/17/20 Page 1of1 Page ID #:37

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 8:20-cv-00053-JLS-KES Stela Garcia, an individual v.South Coast Terrace Condominium Association

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

. POWERSTONE PROPERTY MANAGEMENT, INC.,
This summons for (name of individual and title, if any) a California Corporation

was received by me on (date) 01/15/2020

(1 I personally served the summons on the individual at (place)
On (date) 5 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

A served the summons on (name of individual) Karen Kannen, Agent for Service of Process ‘ who is
designated by law to accept service of process on behalf of (name of organization) Powerstone Property

Management, Inc. (* see below for details) On (date) 1/16/2020 12:18 pm; OF

© I returned the summons unexecuted because :or

wn Other (specify). Served the following concurrently therewith: SUMMONS IN A CIVIL ACTION, COMPLAINT FOR MONETARY, DECLARATORY,
AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL; NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; NOTICE

TO PARTIES OF COURT-DIRECTED ADR PROGRAM; INITIAL STANDING ORDER FOR CIVIL CASES ASSIGNED TO
JUDGE JOSEPHINE L. STATON

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 01/16/2020

 

California Registered Process Server, Los Angeles County #2015225851

 

 

Printed name and title

SOCAL SUBPOENA SERVICES LLC
344 Coronado Avenue, Long Beach, CA 90814
T: (562) 436-0222

Server's address

Additional information regarding atempted service, etc:
* Karen Kennen, Agent for Service of Process (Caucasian female, 5'10", 165 Ibs., blonde hair, brown eyes, 50-55
years of age), was personally served at 9060 Irvine Center Drive, Suite 200, Irvine, California 92618
